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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

              -against-                                               ORDER

 GEORGE PAGAN,                                                    19 Cr. 320 (PGG)

                           Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               On March 19, 2020, Defendant George Pagan pleaded guilty to possession of

child pornography in violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2). (Plea Tr. (Dkt. No.

31) at 5-6, 13-14) On October 30, 2020, this Court sentenced Pagan to two years’ imprisonment

and five years’ supervised release, and directed that he surrender to the United States Marshal for

this District by 2:00 p.m. on November 2, 2020. Pagan now requests that his surrender date be

extended to February 1, 2021. (Def. Ltr. (Dkt. Nos. 53, 55)) For the reasons stated below,

Pagan’s application will be denied. As previously ordered, Pagan will surrender to the United

States Marshal for this District by 2:00 p.m. on November 2, 2020

               As to bail pending appeal, the Bail Reform Act, 18 U.S.C. § 3143(b), provides as

follows:

       Release or detention pending appeal by the defendant.--(1) Except as provided in
       paragraph (2), the judicial officer shall order that a person who has been found guilty of
       an offense and sentenced to a term of imprisonment, and who has filed an appeal or a
       petition for a writ of certiorari, be detained, unless the judicial officer finds –

       (A) by clear and convincing evidence that the person is not likely to flee or pose a danger
       to the safety of any other person or the community if released under section 3142(b) or
       (c) of this title; and

       (B) that the appeal is not for the purpose of delay and raises a substantial question of law
       or fact likely to result in--
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               (i) reversal,

               (ii) an order for a new trial,

               (iii) a sentence that does not include a term of imprisonment, or

               (iv) a reduced sentence to a term of imprisonment less than the total of the time
               already served plus the expected duration of the appeal process.

       If the judicial officer makes such findings, such judicial officer shall order the release of
       the person in accordance with section 3142(b) or (c) of this title, except that in the
       circumstance described in subparagraph (B)(iv) of this paragraph, the judicial officer
       shall order the detention terminated at the expiration of the likely reduced sentence.

       (2) The judicial officer shall order that a person who has been found guilty of an offense
       in a case described in subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142
       and sentenced to a term of imprisonment, and who has filed an appeal or a petition for a
       writ of certiorari, be detained.

18 U.S.C. § 3143(b).1

               Even where a defendant would otherwise be properly remanded under 18 U.S.C.

§ 3143(b), 18 U.S.C. § 3145(c) may provide a mechanism for relief, where “exceptional



1
  The parties have also addressed Pagan’s right to bail under Section 3143(a), which applies
where a Defendant “has been found guilty of an offense” and “is awaiting imposition or
execution of sentence.” 18 U.S.C. § 3143(a); see also (Def. Ltr. (Dkt. No. 53) at 1; Govt. Ltr.
(Dkt. No. 54) at 1-2, 2 n.1) Section 3143(a) is generally applicable “[w]here . . . Defendant's
request for release was made after his conviction but prior to sentencing.” United States v. Scali,
No. 7:16-CR-466-(NSR), 2018 WL 3410015, at *1 (S.D.N.Y. July 12, 2018) (citing United
States v. Chen, 257 F. Supp. 2d 656, 658 (S.D.N.Y. 2003); United States v. Bloomer, 967 F.2d
761, 763 (2d Cir. 1992)), aff’d, 738 F. App’x 32 (2d Cir. 2018). Here, however, Pagan “has
been found guilty . . . and sentenced to a term of imprisonment.” 18 U.S.C. § 3143(b).

Analysis under Section 3143(b) is necessary, in part, to acknowledge that the circumstances
post-sentencing are often substantially different than the circumstances pre-sentencing. Pre-
sentence, there is a possibility that a defendant might receive a non-incarceratory sentence, and a
bail determination must contemplate that possibility. Once a term of incarceration is imposed,
there is no longer a possibility of a non-incarceratory sentence, and the law thus requires the
defendant to satisfy the more rigorous standard set forth in Section 3143(b), as opposed to the
standard that applies pre-sentence under Section 3143(a).

As discussed below, the Court recognizes that Section 3145(c) may provide a basis for continued
release even where Section 3143(a) or Section 3143(b) counsel remand.
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circumstances” exist:

       A person subject to detention pursuant to section 3143(a)(2) or (b)(2), and who meets the
       conditions of release set forth in section 3143(a)(1) or (b)(1), may be ordered released,
       under appropriate conditions, by the judicial officer, if it is clearly shown that there are
       exceptional reasons why such person’s detention would not be appropriate.

18 U.S.C. § 3145(c).2

               Here, Pagan’s application to remain on release pending appeal fails for multiple

reasons. As an initial matter, Pagan must demonstrate under Section 3143(b)(1)(B) that his

planned appeal “raises a substantial question of law or fact likely to result in [] reversal, [] an

order for a new trial, [] a sentence that does not include a term of imprisonment, or [] a reduced

sentence to a term of imprisonment less than the total of the time already served plus the

expected duration of the appeal process.” 18 U.S.C. § 3143(b)(1)(B).

               Pagan suggests that he “may have a meritorious appeal” because the Government

asserted at sentencing that Pagan had accessed child pornography prior to using Chatstep and had

accessed child pornography from his first day of using that application. (Def. Ltr. (Dkt. No. 53)

at 3 n.1) The Court very clearly stated its reasons for its sentencing determination, however, and

neither argument cited by Defendant was referenced by the Court.

               Moreover, in sentencing Pagan to two years’ imprisonment, the Court granted a

substantial variance from the applicable Guidelines range of 97 to 121 months’ imprisonment.

In his plea agreement, Pagan agreed that he “will not file a direct appeal; nor bring a collateral

challenge . . . of any sentence within or below the Stipulated Guidelines Range of 97 to 121




2
  Defendant does not dispute that “[p]ossession . . . of child pornography [is], by definition, [a]
crime[] of violence.” United States v. Bonczek, No. 08 CR. 361 (PAC), 2009 WL 2924220, at
*1 (S.D.N.Y. Sept. 8, 2009) (citing 18 U.S.C. § 3156(a)(4)(c)). Because Pagan has been found
guilty of a “crime of violence,” he is subject to detention under Section 3143(b)(2). See 18
U.S.C. §§ 3142(f)(1)(A); 3143(b)(2).
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months’ imprisonment.” (Plea Agreement (Dkt. No. 33-3) at 5) Given this waiver and the

Court’s two-year sentence, Pagan cannot challenge his sentence either on direct appeal or in a

collateral proceeding. Accordingly, Pagan has not demonstrated that his planned appeal will

raise a “substantial question of law or fact likely to result in . . . reversal. . . .” 18 U.S.C. §

3143(b)(1)(B).

                 In order to justify his continued release under Section 3145(c), Pagan must also

demonstrate “exceptional circumstances.” “The test under § 3145(c) is necessarily a flexible

one, and district courts have wide latitude to determine whether a particular set of circumstances

qualifies as ‘exceptional.’” United States v. Lea, 360 F.3d 401, 403 (2d Cir. 2004). Here, Pagan

cites the ongoing impact of the COVID-19 pandemic along with his desire to (1) continue his sex

offender treatment; (2) make arrangements for his mother’s care; (3) provide notice to his

employer; and (4) avoid serving time in a maximum-security pre-trial detention center awaiting

designation and transfer. (Def. Ltr. (Dkt. No. 53) at 2) The Government responds that none of

these reasons is sufficiently “exceptional.” (Govt. Ltr. (Dkt. No. 54) at 3-4) The Court agrees

with the Government.

                 As to the COVID-19 pandemic, Pagan does not point to any pre-existing health

condition or risk factor that puts him at a heightened risk for contracting the virus or would lead

to a poorer prognosis if he were to become infected. The remaining reasons Pagan cites,

including his desire to continue his sex offender treatment, make arrangements for his mother’s

care, give notice to his employer, and avoid time in a pretrial detention facility are neither unique

to him nor “exceptional.” As to Pagan’s concerns about his mother and his employer, Pagan was

arrested on April 2, 2019, and granted pretrial release on April 4, 2019. (PSR (Dkt. No. 45) at 1)

He has had nineteen months to put his affairs in order.
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               For all of these reasons, Pagan’s application to remain on release pending appeal

is denied. Pagan will surrender to the United States Marshal for this District by 2:00 p.m. on

November 2, 2020.

Dated: New York, New York
       November 1, 2020

                                             SO ORDERED.



                                             _________________________________
                                             Paul G. Gardephe
                                             United States District Judge
